Case 1:97-cV-00975-RCL Document 27 Filed 08/24/00 Page 1 of 10

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

 

MICHAEL H. PRICE and )
RoGER K. FREY )
)
Plaintiffs )
) Civil Acrion No. 97-975 (RCL)
v. )
)
soCIALIST PEoPLE’s LIBYAN ) FI,LED
ARAB JAMAH!RIYA ) `
) AUG 2 4 2000
)
Defendant ) NANC‘{ MA¥ER WH|TT|NGTON, CLERK
) U S. D|STR|CT COURT
MEMoRANDUM oPlNIoN

 

This matter comes before the court upon a complaint filed by plaintiffs Michael H. Price
and Roger K. Frey against defendant Socialist People’s Libyan Arab Jamahiriya (“Libya”)
seeking general, specific, and compensatory damages in excess of twenty million dollars for each
plaintiff Plaintiffs allege that they Were taken hostage and subjected to physical and mental
torture in violation of 28 U.S.C. § l605(a)(7), as amended, 1996. For the following reasons,

Libya’s Motion to Dismiss Will be denied.

I. Facts
Plaintiffs are citizens of the United States. On March 19, 1980, they Were accused of
taking photographs for illegal purposes and detained in a Libyan prison pending trial. Plaintiffs

allege that during their 105-day incarceration they Were clubbed and beaten by the prison guards,

Case 1:97-cV-00975-RCL Document 27 Filed 08/24/00 Page 2 of 10

mentally and verbally abused during interrogations, subjected to crowded and unsanitary
conditions, and denied adequate nutrition and medical care. Price and Frey further allege that
after being acquitted of all charges, Libya refused to allow plaintiffs to recover their passports or
leave the country for sixty days.

On May 7, 1997, plaintiffs brought this suit against Libya. Price and F rey assert in their
complaint that the Libyan government’s sponsorship of their abusive treatment constitutes “acts
which governments do not normally and cannot lawfully undertake,” thereby waiving the
government’s right to sovereign immunity under the Foreign Sovereign lmmunities Act
(“FSIA”). _S_§§ Plaintiffs’ Complaint jj 10.

Libya responded by filing a l\/Iotion to Dismiss on January 21, 1998, claiming l)
insufficient service of process, 2) failure to provide a reasonable opportunity to arbitrate, 3) lack
of personal and subject matter jurisdiction, and 4) failure to state a claim upon which relief can
be granted This court denied defendant’s motion without prejudice, ruling that plaintiffs’
method of serving process was inadequate but ga write granting a 6()-day extension for
plaintiffs to perfect service of process. E Memorandum and Order (filed September 24, 1999).
In its opinion, this court declined to address the remaining issues raised by Libya, ruling that any
adjudication would be premature in the absence of sufflcient service.

After plaintiffs properly effected service of process, defendant renewed its Motion to
Dismiss on February 9, 2000, contending that l) Congress’ grant of subject matter jurisdiction
under § 1605(a)(7) is invalid, 2) this court’s exercise of personal jurisdiction over the defendant
is unconstitutional, and 3) plaintiffs fail to state a claim upon which relief can be granted This

court now considers each of these arguments in turn.

Case 1:97-cV-00975-RCL Document 27 Filed 08/24/00 Page 3 of 10

II. Argument
A. Subject matter jurisdiction

Defendant does not dispute that § l605(a)(7) of the FSIA confers subject matter
jurisdiction on United States courts “to adjudicate money damages against designated states for
personal injury or death caused, inter alia, by acts of torture and hostage taking.” See
Defendant’s Motion to Dismiss (filed February 9, 2000). However, Libya argues that this grant
of subject matter jurisdiction in the statute is invalid for three reasons: l) the passive personality
principle upon which subject matter jurisdiction is based is disfavored by the executive and
judicial branches of this government as well as international law, 2) Congress lacks the
constitutional authority to grant subject matter jurisdiction pursuant to § 1605(a)(7), and 3)
Congress’ grant of subject matter jurisdiction violates the doctrine of separation of powers.

l. The “passive personalitvh)rinciple

 

The passive personality principle forms the underpinnings of Congress’ grant of subject
matter jurisdiction under the FSIA: “Under the passive personality principle, a state may punish
non-nationals for crimes committed against its nationals outside of its territory, at least where the
state has a particularly strong interest in the crime.” United States v. Yunis, 924 F.2d 1086, 1090
(D.C. Cir. 1991). Defendant notes that subject matter jurisdiction is created under the passive
personality principle simply by virtue of the plaintiffs’ nationality Libya argues at length in its
Motion to Dismiss that the executive branch, American courts, and international law have
historically frowned upon legislative grants of subject matter jurisdiction when jurisdictional
contacts with the United States depend solely on plaintiffs’ American citizenship

Yet this court finds that this jurisdictional argument lacks merit in light of recent judicial

Case 1:97-cV-00975-RCL Document 27 Filed 08/24/00 Page 4 of 10

rulings in this circuit. In United States v. Yunis, the defendant alleged the same jurisdictional
infirmities under the passive personality principle that Libya presents in this case. The Court of

Appeals in Yunis rejected this line of argument, finding that “American courts are obligated to

 

give effect to an unambiguous exercise by Congress of its jurisdiction to prescribe even if such
an exercise would exceed the limitations imposed by international law." i_c_l. at 1091 (quoting
Federal Trade Comm'n v. Comnagnie de Saint-Gobain-Pont-a-Mousson, 636 F.Zd 1300, 1323

(D.C.Cir.1980)). ln the absence of constitutional violations, the decision in Yunis accords

 

dispositive weight to acts of Congress. Thus, the authorities cited by defendant that preceded
the 1996 amendments to the FSIA do not provide a basis for this court to diverge from the
holding in XQILS_. As the Court of Appeals concluded: “The statute in question reflects an
unmistakable congressional intent, consistent with treaty obligations of the United States, to
authorize prosecution of those who take Americans hostage abroad no matter where the offense
occurs or where the offender is found. Our inquiry can go no further.” Lc_l. at 1091.
2. The constitutionality of Congr_ess;grant of subject matter jurisdiction under the FSIA

The Congress of the United States is a legislature of enumerated and specific powers, and
can only act in accordance with the limitations imposed by the Constitution. Marbu;y v.
Madison, 5 U.S. 137, 176 (1803). The Supreme Court ruled in Verlinden B.V. v. Central Bank
of Nigeria, 461 U.S. 480 (1983) that the Constitution imposes no such limitation on the ability of
Congress to waive the sovereign immunity of foreign countries: “Foreign sovereign immunity is
a matter of grace and comity on the part of the United States, and not a restriction imposed by the
Constitution.” I_c_i. at 486. The Supreme Court subsequently found that Congress is uniquely

positioned to determine the conditions under which foreign countries should be subjected to the

Case 1:97-cV-00975-RCL Document 27 Filed 08/24/00 Page 5 of 10

jurisdiction of American courts: “By reason of its authority over foreign commerce and foreign
relations, Congress has the undisputed power to decide, as a matter of federal law, whether and
under what circumstances foreign nations should be amenable to suit in the United States.” l_d_. at
492. This conclusion required an explicit finding by the Court that the Constitution grants
Congress the power to create subject matter jurisdiction for federal courts through the FSIA:
“The jurisdictional grant is within the bounds of Article Ill, since every action against a foreign
sovereign necessarily involves application of a body of substantive federal law, and accordingly
‘arises under’ federal law, within the meaning of Article lll.” Id. at 497. Accordingly, this court
rejects defendant’s attack on the constitutionality of this court’s subject matter jurisdiction
3. Separation of Powers

Defendant argues that the 1996 amendments to the FSIA are an unconstitutional
delegation of legislative powers to the executive branch since they authorize the Secretary of
State to determine which foreign countries are amenable to suit in the United States under
§ 1605(a)(7). For purposes of this case, however, this court need not address the constitutionality
of this delegation of power since the decision to subject Libya to the jurisdiction of American
courts was made by Congress and not the executive branch:

The decision to subject Libya to jurisdiction under §l605(a)(7) was manifestly

made by Congress itself rather than by the State Department. At the time that

§ l605(a)(7) was passed, Libya was already on the list of state sponsors of

terrorism. No decision whatsoever of the Secretary of State was needed to create

jurisdiction over Libya for its alleged role in the destruction of Pan Am 103. That

jurisdiction existed the moment that the AEDPA amendment became law. Rein v.
Socialist Lib@ Arab Jamahiriva, 162 F.3d 748, 764 (2““' Cir. 1998).

Case 1:97-cV-00975-RCL Document 27 Filed 08/24/00 Page 6 of 10

B. Personal jurisdiction

Defendant argues that this court cannot constitutionally acquire in personam jurisdiction
over Libya since the country lacks sufficient minimum contacts with the United States: “[Libya]
has no presence in the United States, does not conduct any business in the United States either
directly or through an agent, and has no other afiiliating contacts with the United States.”
Defendant’s Motion to Dismiss (filed February 9, 2000). Citing substantial case law, Libya
further argues that the American citizenship of the plaintiffs by itself is insufficient to establish
the requisite minimum contacts.

However, this court observes that the process of obtaining personal jurisdiction under

the FSIA does not follow the traditional approach outlined in lnternational Shoe Co. v.

 

Washingt_o_n, 326 U.S. 310 (1945). As the Supreme Court observed in Argentine Republic v.
Amerada Hess Shipping Corp., 109 S.Ct. 683 (1989), “the text and structure of the FSIA
demonstrate Congress’ intention that the FSlA be the sole basis for obtaining jurisdiction over a
foreign state in our courts.” _I_c_i. at 688. 28 U.S.C. § 1330 describes the conditions under which
courts may obtain in personam jurisdiction over foreign countries:

(a). The district courts shall have original jurisdiction of any nonjury civil action
against a foreign state as to any claim for relief in personam with respect to
which the foreign state is not entitled to immunity

(b) Personal jurisdiction over a foreign state shall exist as to every claim for relief
over which the district courts have jurisdiction under subsection (a) where
service has been made under section 1608 of this title.

The statute itself and subsequent caselaw demonstrate that the process of establishing

personal jurisdiction over a foreign country is sensitive to the particular sovereign immunity

exception invoked by the plaintiffs In Rein v. Socialist People’s Libyan Arab Jarnahiriva, 162

Case 1:97-cV-00975-RCL Document 27 Filed 08/24/00 Page 7 of 10

F.2d 748 (2“d Cir. 1998), Libya raised the same personal jurisdiction arguments that have been
submitted to the court in this case. Significantly, the Court of Appeals ruled in Rein that an
independent finding of minimal contacts is not required for establishing personal jurisdiction
over a defendant When subject matter jurisdiction arises pursuant to §l605(a)(7) of the FSIA:
“The elements of §1605(a)(7), unlike those of the commercial activities exception, do not entail
any finding of minimum contacts.” ld. at 761. lndeed, cases under the torture provision are
unique in that courts automatically obtain personal jurisdiction over the foreign country
whenever the requirements of subject matter jurisdiction and service of process are satisfied:

The two kinds of jurisdiction - subject matter and personal - are interrelated

under the FSIA. Pursuant to that statute, there is personal jurisdiction over

foreign sovereigns with respect to all claims (a) over which there is subject

matter jurisdiction, and (b) as to which process has been properly served. In

other words, the statute makes both service of process and subject matter

jurisdiction elements of personal jurisdiction over foreign sovereigns. § at 759.

This unique method for establishing personal jurisdiction under § 1605(a)(7) reflects
Congress’ understanding that sufficient nexus with the United States exists by definition when
the foreign country is accused of torturing an American citizen overseas Thus, notwithstanding
the arguments of defendant, this court finds that this process for obtaining personal jurisdiction
does not undermine the Fifth Amendment’s guarantee of due process, but is necessary to allow

for the adjudication of claims arising under § l605(a)(7). Accordingly, this court’s exercise of

personal jurisdiction over Libya is constitutional.

C. Plaintiffs’ causes of action

According to Federal Rule of Civil Procedure 8(a)(2), a complaint need only contain “a

Case 1:97-cV-00975-RCL Document 27 Filed 08/24/00 Page 8 of 10

short and plain statement of the claim showing that the pleader is entitled to relief.” In Conley
v. Gibson, 355 U.S. 41 (1957), the Supreme Court interpreted this rule to mean that “a
complaint shall not be dismissed for failure to state a claim unless it appears beyond doubt that
the plaintiff can prove no set of facts in support of his claim which would entitle him to relief.”
I_d. at 45-46. Nonetheless, defendant argues for a Rule 12(b)6 dismissal of plaintiffs’ complaint
on grounds that plaintiffs fail to sufficiently allege a cause of action for 1) torture, and 2)
hostage taking
1. Torture

Defendant contends that plaintiffs fail to state a valid cause of action for torture since
they do not allege in their complaint that the violence they suffered at the hands of the Libyan
prison guards was committed “for the purpose of extracting information or a confession from
them.” §e_e Defendant’s Motion to Dismiss. However, this definition of torture employed by
defendant is unduly narrow. Addendum 1 to defendant’s motion concedes that the term
“torture” in the 1996 amendment to the FSIA derives its meaning from the definition of torture
in Section 3 of the Torture Victim Protection Act of 1991 (“TVPA”):

The term “torture” means any act, directed against an individual in the

offender’s custody or physical control, by which severe pain or suffering (other

than pain or suffering arising only from or inherent in, or incidental to, lawful

sanctions), whether physical or mental, is intentionally inflicted on that

individual for such purposes as obtaining from that individual or a third person

information or a confession, punishing that individual for an act that individual

or a third person is suspected of having committed, intimidating or coercing that

individual or a third person, or for any reason based on discrimination of any

kind.” Section 3(b)(1), Torture Victim Protection Act of 1991. (Emphasis

addedi

Under this broader definition, this court finds that plaintiffs’ allegations satisfy the

Case 1:97-cV-00975-RCL Document 27 Filed 08/24/00 Page 9 of 10

elements of torture as defined in the TVPA and adequately plead a cause of action for torture.
First, plaintiffs allege that they were subjected to severe pain and suffering in the course of
being “kicked, clubbed and beaten by the prison guards,” and “interrogated and subjected to
physical, mental and verbal abuse.” Price and F rey also allege that they were within the Libyan
government’s custody at the time the alleged acts of torture occurred Finally, their claim that
they were singled out for their American citizenship properly alleges a discriminatory purpose in
accord with the TVPA definition.

2. Hostage taking

Plaintiffs and defendant stipulate that the term “hostage taking” in the 1996 FSIA
amendment derives its meaning from the definition of that term in Article l of the International
Convention Against the Taking of Hostages:

Any person who seizes or detains and threatens to kill, to injure or to continue to
detain another person in order to compel a third party, namely, a State, an
international governmental organization, a natural or juridical person or a group of
persons, to do or abstain from doing any act as an explicit or implicit condition for
the release of the hostage commits the offense of taking hostages within the
meaning of this Convention.

By simply alleging that the circumstances of their confinement constitute hostage taking
as defined by the statute, the plaintiffs satisfied the pleading requirements of Rule 81 “All the
Rules [of Civil Procedure] require is a short and plain statement of the claim that will give the
defendant fair notice of what the plaintiff s claim is and the grounds upon which it rests.”
Conley v. Gibson, 355 U.S. 41, 45-46 (1957). l\/loreover, plaintiffs specifically claim that they

were confined “for the purpose of demonstrating Defendant’s support of the government of

lran which held hostages in the U.S. Embassy in Teheran, lran.” §e_e Plaintiffs’ Complaint.

Case 1:97-cV-00975-RCL Document 27 Filed 08/24/00 Page 10 of 10

Implicit in plaintiffs’ complaint is the allegation that Libya incorporated Iran’s motive for
taking hostages at the American Embassy to detain and mistreat Price and F rey in Libya.
Accordingly, this court finds that plaintiffs’ allegations satisfy the elements of hostage taking as

defined by the Convention and adequately plead a cause of action.

III. Conclusion

This court finds that 1) Congress’ grant of subject matter jurisdiction under
§ 1605(a)(7) is valid, 2) this court’s exercise of personal jurisdiction over Libya is
constitutional, and 3) plaintiffs state a valid cause for action for both torture and hostage taking.
According, defendant’s Motion to Dismiss will be denied.

A separate order shall issue this date.

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Myce C. Lainberth
United States District Court Judge

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